       Case 1:10-cv-06950-AT-RWL Document 1140 Filed 12/11/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X             12/11/2020
H. CHRISTINA CHEN-OSTER, et al.,                               :
                                                               :   10-CV-6950 (AT) (RWL)
                                    Plaintiffs,                :
                                                               :   ORDER
                  - against -                                  :
                                                               :
GOLDMAN, SACHS & CO., et al.,                                  :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

        This Order resolves the letter motions at Dkt. 1115/1116 and Dkt. 1126.

        1.       Defendants filed a letter referring to an upcoming motion to modify the class

period. (Dkt. 1126.) The Court has sufficient information on which to rule on this issue

at this time. Judge Torres certified a class “through the resolution of this action.” Chen-

Oster v. Goldman, Sachs & Co., 325 F.R.D. 55, 63 (S.D.N.Y. 2018). That directive is

clear and unequivocal. Accordingly, the motion to modify the class period is denied

without prejudice to renewal as part of Defendants’ future motion to decertify the class.

The present ruling, however, shall not be a basis to extend discovery, which has closed.

        2.       Plaintiffs’ request for production of the limited set of documents in Dkt.

1115/1116 is granted. Defendants shall produce the gender-related information from the

2019 and 2020 diversity presentations to Goldman’s Board of Directors, the associated

data packets, and the minutes of those meetings. To be clear, these materials may not

be used as a gateway to additional discovery.




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     Case 1:10-cv-06950-AT-RWL Document 1140 Filed 12/11/20 Page 2 of 2




                                          SO ORDERED.



                                          _________________________________
                                          ROBERT W. LEHRBURGER
                                          UNITED STATES MAGISTRATE JUDGE

Dated: December 11, 2020
       New York, New York

Copies transmitted this date to all counsel of record.




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